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IN THE UNITED STATES FEDERAL DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

JAVIER MANDRY-MERCADO |
| CASENO. O1- cu \WSOUSNS)

Removant |
VS. |

SALVADOR R. MANDRY MERCADO __ || NOTICE OF REMOVAL

 

 

et al. || ACTION UNDER 28 USC 1441(B)
Defendants || FEDERAL DIRECT QUESTION
| =
Y
TO THE CLERK OF THE COURT: SS. Le

1. Defendant JAVIER MANDRY MERCADO hereby removes case No. JAC2018-0244
from the Tribunal of First Instance of Ponce pursuant to 28 USC 1441(c)(A) of the United
States Code, to the United States District Court for the District of Puerto Rico, which is
the judicial district where the action is pending. Per the case, the parties are Salvador
Mandry et al.; However, this is wrong. The correct title should be: Conrado Manfredy
(Plaintiff) v. Javier Mandry, Salvador Mandry, Margarita Mandry, Eduardo Mandry,
Rosa Mercado, Adrian Mandry.

EXECUTIVE SUMMARY
2. The grounds for removal of this action involves a procedural due procedural violation
in an estate adjudication case where the Plaintiff's choice of law known “Cédigo de
Enjuiciamiento Civil” (body of law that predates Public Law 600) was intentionally used
to violate as an impediment so that the court would not hear or resolve them. I will
demonstrate that this issue involves a vagueness arising from the law which was not

meant for the purpose for which it was used. This choice of law is one of the ways that

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The Plaintiff (Conrado Manfredy initiated the case) has managed to block my right to
reconvene, issue which I allege involves extrinsic fraud, because the Estate
Administrator has forcibly moved the court to err by using lawyers’ unsworn testimony
as evidence without ever filing a cause of action. Additionally constant attacks used the
attack to my pro se status was used to instigate a reluctance of the court to resolve the
matter in depth because the lawyers say so to cause the court to accept a report which I
can prove is fraudulent in substance, and their choice of law has used to violate my
contract rights by circumventing my right to contractual consent. The contractual
consent’s circumvention was used to use other people’s contractual terms because they
have contracted with the Plaintiff to prevent that the true assets and liabilities of the
estate to be discovered. At no time has the state court held a hearing, nor had has is had
evidence that is nothing more than hearsay. This manipulation of proceedings is
commonplace in my family and is used to allow some owners to take advantage of other
people’s property. This is the case here, where my own mother and father have
misrepresented me with the help of an attorney who is specialist in legal entities.
However, during this estate adjudication case, the Plaintiff is only showing a very
tainted picture of what the truth really is. Because the lawyers are not owners of the
legal process, they cannot tell me whether I will be allowed to reconvene to pleadings

which their choice of law tacitly allow them to avoid.

. Plaintiff and the widow’s attorney acted recklessly by ignoring res judicata, or clear
orders which I will demonstrate how the Plaintiff acted as a state actor and has acted
reckless by refusing to file a complaint when he knew he had to file one. The Court of
appeals had converted the case to contentious. The implications of this are huge because
it meant that his original choice of law was no longer to be used. Because this was
inconvenient, he chose to ignore it. The Plaintiff, with the help of his attorney and the
attorney of the widow, they have decided that it was going to be easy to fool the pro-se.

Their recklessness and sheer stubbornness do not allow them to understand that even

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though they managed to obtain a judgment, the judgment was obtained without filing
a cause of action as it was expected. On the other hand, the court has a hard time to
invalidate a proceeding because it was done by lawyers and being petitioned by a pro-
se. The other choice of law to resolve this matter is the Puerto Rico Civil Code which
required him to file a standard claim which pleadings, causes of actions, etc. Failing to
file one confers me the right on removal to request a declaratory judgment to invalidate
all partial judgments issued by the court without subject matter jurisdiction. In addition,
it would allow me to ask for damages for constitutional torts. Because the Plaintiff does
not own the legal process, just because he tells the court to “jump”, the court's jumping
should have no permanent effect. His recklessness, and his collaborators, must respond
to their contractual and extracontractual responsibilities, as well as the constitutional
torts for causing an eleven-year delay, with no end in sight. Their main objective is to
delay. The delay allows them to bill and keep billing. I need it to stop, as it is causing
me severe emotional distress, while it is causing the legal entity damages and to my
property. I suggest that the Plaintiff has been defrauding the entity because he claims it
is his authority to perform the executorship, but even the assignment of the

executorship is subject to be discovered in this removal.

4. I claim that Plaintiff's choice of law was used with the express intent to prevent a
discovery, prevent any additional cause of action to be filed by any party, prevent to
comply with his fiduciary duties towards a forced heir’, and prevent any party from
knowing the allegations and the causes of actions. By filing as an ex-parte case, he
intentionally moved the court to understand that his requirements of the court are
merely ministerial in nature, apparently not requiring the consent of the parties. This
has been used to violate my contract rights, using the court to replace final a report? as

valid when it is flawed to begin with was not sworn nor signed by the Plaintiff, who is

 

' Matter which alludes to a property right over the correct administration and adjudication.
2 The Estate Administrator’s finial report of assets and adjudication

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sub. The Plaintiff's bullyesque stance has had the only goal cause the court to
negligently conceal existing businesses and legal entities which have been usurped from
me since I was a minor. The extent of this involves what I claim is a criminal because
the Plaintiff is aiding and abetting not just the widow to take advantage of the estate,

but other parties whose names would have to be discovered.

. I will demonstrate that the Plaintiff has used his lawyer-class of litigant to attack my
pro-se status, moving the state court is overstepping its jurisdiction because it cannot
arbitrarily override the consent of an indispensable party to engage in a contract in this
type of partition. In addition, any summary judgment that was resolved without
having a cause of action renders all remedies null and void. Additionally, the rule of the
case does not favor the Plaintiff who wantonly decided to keep the case in his original
choice of law, not the PR Civil Code. His strategy involves in submitting a draft
judgment for the judge to sign,’ matter which is extremely unethical for a lawyer to give
the court an escape and demonstrates how the Estate Administrator misuses his license
to practice law and his state role as Estate Administrator. The Plaintiff, whom I claim
had an agenda to cause damages since before my father’s death, has violated much
more than his fiduciary duties, but also ignored court orders and court of appeals
judgements, as well as the will itself. He has attacked me with a vengeance, ever since I
filed a case in federal court which included him and filed a complaint against him and
his daughter because the will conferred him as estate administrator. [I will speak of this
I detail in the background section.] The plaintiff has used its choice of law to coerce me
into accepting contractual terms that I recognize as being iniquitous. I claim the plaintiff
has been grossly negligent, reliant in his choice of law and his cunning as lawyer who

has found ambiguities in a state law which allows him act in such a reckless way.

 

3] will demonstrate how the Plaintiff does this. There is a pending motion filed by the Plaintiff to issue a mandate
which includes an order to have all parties sign the transfer documents. The court is acting outside its jurisdiction by
forcing parties to engage in contract, much less a contract whose terms have been imprinted by the strongest party.

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6. I claim that no law (Plaintiff's choice of law) can abridge my rights of due process to file
a reconvention and to know what the pleadings are and requested causes of action
beforehand. I furthermore assert that this situation has turned noxious since he has
caused for filing volumes causing the court case to go around in circles during the last
eleven years. I request this court to assert injunction jurisdiction in light that the Plaintiff
has exerted intentional emotional distress to this disabled veteran with ptsd. The
emotional distress has become excruciating. Looking after my property has become a
burden that has become too heavy to bear. I claim that the abuse that has been inflicted
on me is criminal, but because the Estate Administrator has used the fact that I have
PTSD to prevent me from continuing, perpetuating a monumental damage to my

property rights and allowing that my own family to steal from me.

7. The choice of law and the plaintiff's constant persuasive stance is used to move the court
to resolve pursuant to ad hoc law. There is no room for negotiation, as I have attempted
ad exhaustion. The objective of the Estate administrator has been abundantly clear: to
protect other people from having to clarify the businesses that exist and what profits

have been taken by people who want to not pay me my rightful share.

8. It is unfortunate that I come from a family where everyone wants to take advantage of
you, especially your own mother who is the widow who has caused damages since I
was four years of age by representing me without proper authority in a contract,
contract which affects the title registry retroactively. The legal stunts that they have
used were all made with the advisement of Cesar Hernandez Colon, person whom I can
attest uses his political connections from the ppd party to circumvent the law. I can
attest to the fact that my family operates like a mafia, and this negligent concealment
includes a what is considered an important state matter because they have engaged

illegal practices by fabricating state debt by causing a misapplication of the state’s Fifth
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Amendment rights by stipulating a categorical taking, one of the lots that belongs to
this estate. I am opposed to all unethical and felonious activities, especially those that
affect third parties who are unaware how an inverse condemnation claim can be used
to defraud the state by stipulating a categorical taking. There is a pending referral to
the Federal Bureau of Investigation which I would like this court to assert mandamus
jurisdiction, as he is circumventing the authority of the Fiscal Control Board by

manipulating the debt of Puerto Rico.

9. This case has made me sick, as my desire is to use the Judicial system to resolve my
property problem, but even this has been taken away from me. I had not removed it
earlier because it involves a very ugly family feud which exposes judicial manipulation
and habitual abuse of property belonging to minors. This case also exposes a very
renown attorney from Ponce, Cesar Hernandez-Colon, who is the master orchestrator,
working in tandem with the Plaintiff to allow his clients to not have to pay me back. I
also claim that this attorney has been working in tandem with the Estate Administrator
to use the same strategy of using his choice of law to commit fraud by concealing
various businesses and legal entities that belong solely to the testator, but who should
also belong to me. My parents abused me and my property, thanks to the legal counsel
who forced himself to represent me as would a rapist onto a legally incompetent victim.
I claim that Cesar Hernandez Colon is the criminal mind who is still manipulating a

hereditary mass as if it were a corporation when it is not.

10. I need a forum to undo the illegal transactions and pierce the legal entities that were
formed illegally when I was a minor, without due process of law, issue which would
affect the assets of the Estate as a whole, and not just my share. I need to undo that
which they did which renders the transactions invalid because state law deems them

without legal authority, as they circumvented judicial authorization that is required
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before a transaction takes place involving minors and their property. State law, as per
Inre: Lopez Olmedo, has clarified that previous authorization is needed to validate any

transaction.

I come from a family where the parents took advantage of the fact that they were parents
to engage in transactions where I was a party and without proper authority
misrepresented the true ownership, while circumventing the law because Mr.
Hernandez Colon showed them the way. They have done everything to infuriate me
and use my natural response against me, just because there are three lawyers against
one pro se, matter where I claim they have used their class of litigants to deprive me of
my Faretta rights. I also assert that I have been forced to self-represent myself because
they bought off my previous attorney, who intentionally concealed issues regarding the

distribution and known businesses.

Had it not been because of the plaintiff's choice of law and malicious intent to prevent
this litigant and heir from filing a counter claim, the case would have been resolved at
least nine years ago. The Estate Administrator and his law firm were involved during
contract formation to create my father’s last will and testament. I claim this is a bad faith
case where the law firm has engaged in the use of intimidation by claiming that I am
harassing them to prevent me from continuing, knowingly that I am a disabled veteran
with service-connected PTSD, or the fact that I have been deemed totally disabled by
Veterans Affairs, and in complete and utter contempt towards my wellbeing, causing
damages that I deem far exceed five hundred million dollars, in direct damages and
against my property. [This figure involves the fact that the plaintiff is protecting other
people who have been negligent towards me and my property, matter which will be

subject to discovery of these people. I will explain this point in the background section.]

I claim that what has happened to me has been an abuse that has extended to the last

forty years of my life and has been perpetuated by cowboy lawyering such as will be
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evinced in this case. My parents have always hired unethical lawyers to pursue
transactions and legal entities, some of which I am aware of, while others that remain
mostly concealed. Coercion has been a modus operandi to engage in transactions, using

intimidation to prevent answering for what the transactions of moneys that were

14. Because of this, I claim that this is a Bivens claim against the Plaintiff, who has
collaborated with my mother’s attorney, Rafael Torres, to intentionally and brutally
torcher me because I have chosen to purstte a fair trial. Here, there are three lawyers
against one pro se. All three move the court to prevent it to consider any of my claims,
while they lead the court to produce ad hoc law. The ambiguity arising from their choice
of law has allowed for this. For most pro se’s, this would have taken themselves out of
the running. However, because I know there is money involved, I can prove that they
took money belonging to the estate for a case which is designed to defraud the
Commonwealth of Puerto Rico. Although I have advised the Plaintiff, I will no longer
allow anyone to coerce me to represent me without my consent, especially when I know
that they are doing do to benefit people who have defrauded me all my life, now they
are expanding to defraud the Puerto Rico by augmenting its debt by more than fifty
million dollars.

15. The Estate administrator and his lawyer also filed cases of harassment which he later
voluntarily dismissed when the court denied his Faretta right when she realized that
they were bringing allegations of fraud and manipulation of my father’s estate. This
was done to shut me up, matter where I assert involves use of racketeering practices, all
to obtain the judgment which does not even resolve the allegations that I am doing so
here. His choice of law will be demonstrated were part of his strategy to prevent me
from objecting to his fraudulent and misleading report which he is using the court to
ratify. I will demonstrate that he attempts to use the court to force/coerce on a litigant
to accept a contract, issue which I claim violates my contractual right to meeting of the

minds.
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This civil engineer and veteran from military intelligence of the Army pleads the
assistance of this Federal Court to put a stop to situation that has become too much to
bear involving my property which arises from stealing my identity. The matter has
turned violent in the sense that they will take all legal actions and stunts to prevent
damages to the attorneys involved, especially a discovery of the fraud against the
Commonwealth of Puerto Rico by misapplying the Fifth Amendment to cause a
categorical taking of property, matter which I can prove points directly to Cesar
Hernandez Colon and RICO activity. I also claim that my due process rights were
violated because he could not represent me in the stipulation because he was not my

lawyer. As when I was four (4), he represents you by force if not done so voluntarily.

The longevity of this case has been the result of the Estate Administrator’s stubbornness
to circumvent the law and the rightful and correct execution of his role that was
conferred by means of a state inheritance law and other members of the hereditary mass
who have endorsed Cesar Henandez Colon to engage in stipulation of fact in a case
which fictitiously increases the debt of Puerto Rico. My endorsement was not
considered in that stipulation, matter where I claim that Cesar Hernandez Colon has
once again forcibly represented me in a case where I am an indispensable party. The
Estate Administrator has been always colluding with CHC to not only deprive me of
my due process rights in this case and in all cases, while engaging in racketeering
activities to defraud the state, while benefiting financially other litigants in this case,

and himself.

The urgent need to resolve this case arises from a very deep pain that has reached the
very core of my being, as its roots are an abuse to my person by my parents, when I was
a child, by my parents who, with the assistance of Cesar Hernandez Colon and his

improper legal representation to circumvent the law. Unless I expose this atrocity, I
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will not be able to move on. I will have been permanently stepped on and abused, with
my property stolen from me and then thrown to the streets with nothing but my will to
fight for my property. I claim that the attorneys in this case have not practiced law
because it is unfathomable that a court can approve an out-of-court contract without
anyone’s signature. After a very lengthy period of research, I have concluded that the
choice of law is defective. Not only do they know it, but they have also manipulated the
Judicial System to violate very well-established contract law. What has made it most
frustrating is that they have no remorse, and their constant attacks are indicative that
the Plaintiff never intended to fulfill his fiduciary duties, but to have planned on causing
severe damages even if intentional emotional distress were necessary to achieve the

wishes of the widow.

I request a forum to engage in a derivative action claim on behalf of the legal entity, the
Estate of Salvador Mandry and Javier Mandry, per se, v. Conrado Manfredy et al., case
which involves issues of state interest, as it entails how a state law was used to abridge
the rights of an American disabled veterans and citizen who was discriminated for

living in a territory whose legislative procedures violate the Supremacy Clause.

BACKGROUND

The state claim is a “contentious” claim involving a distribution of Estate of Salvador
Mandry-Nones, my father. I am the youngest of five offspring and am a defendant in
state claim. I assert have a property right to receive the correct amount in distribution,

pursuant to the last will and testament.

My claims against my father’s estate entail a violation of my property rights whose
onset dates back to when I was four years of age. A conflict of interest involving the
distribution of a court case, case 57-2295 from Ponce, was transacted and led my parents

to act in a manner that violated my liberty rights by finding out a legal loophole which
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allowed them to circumvent the need for consent, whether it be judicial or personal as
an adult. The onset of this situation is rooted in a conflict of interests between the assets
of a child and his parents who inherited at the same time and became common owners
of land. It also involves heinous abuse of my integrity by use of an emancipation and
power of attorney to continue to control my share of common property and use my
share to pay lawyers to exacerbate the abuse for wanting to enjoy the property and its

fruits, instead of stealing it from me.

22. During the first six years of this case, the estate administrator attempted to force an out
of court agreement and used the court to order the bailiff of the court to sign for those
who would not sign voluntarily. After that, the court decided to dismiss the case
requiring that a contentious case be filed. The Court of Appeals decided to retain
jurisdiction over the parties, not requiring clearly that a formal complaint had to be
filed. During the second round, he never filed a cause of action, and thought that he
would be able to file a summary judgment before filing his claim; As a result of this, I
filed a request for the state court to declare a mistrial. I had not realized what he had
done until the state court denied my reconsideration regarding the interrogatory and
the fact that the estate administrator’s report violated evidentiary procedure because it
was signed by his attorney and son-in-law. The state court has not resolved my request
for annulment in ten months, since it was filed in December. On removal, I request to
invalidate all partial judgments where the court violated the rule of the case. On
removal, I have a federal claim against the estate administrator because his recklessness
to file a cause of action was used to conceal assets which I know exist, as well as other
heirs who contracted with the estate administrator to cause me harm by constant
persecution of my rights, and even filing a harassment claim for issues brought up

during this case.

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23. The onset of the violations to my rights can be dated back to 1977 in a legal document
[See Appendix 1] where Cesar Hernandez Colon was the notary and had later
represented me (without proper authorization in a case where a conflict existed),
circumventing the state’s parens patriae protection. Appendix 1 was used to submit to
the court to distribute the 21.25% share belonging to my great-grandmother, Margarita
Mercado Riera, with an agreement that included only the adults. I was a party in that
case, and I give faith and contend that neither I nor the rest of the minors who had

inherited were included in that document.

24, My mother and widow in this case, Rosa Mercado, without prior authority to do so, nor

 

a party to said case, with malicious intent, represented all her children in an agreement
which resolved a twenty-five-year conflict in the courts which involved the assets of my
great-great grandfather, Mario Mercado Montalvo. The minors who were legally
incompetent required for a legal guardian or tutor to represent them. Cesar Hernandez
Colon at the time was in the last year of his brother's
(Rafael Hernandez Colon) first term as Governor of Puerto Rico. This conferred him

much legal clout, which he willfully abused because as notary he represented the state.

25. This legal document [appendix 1] was an out of court agreement which was later
submitted to the state court in 1977 to resolve a court case with my mother’s acceptance,
along allowed them to pursue numerous transactions that the title agency was moved
to register because they considered the document as valid. This strategy is being used
in this case, circumventing the need (due process requirement) for the court to hold a
hearing to resolve the matter in substance and decide on the matter of the estate final
when they have bluntly fabricated the case with nothing more than hearsay evidence.
They also moved the court to do everything other than what the pro-se requests because

they know better.

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26. In my research of the title registrations of the lots that were acquired in the before
mentioned case and referenced in appendix 1, I found that many of these transactions
included false transactions amongst the parties, many circumventing the requirements
arising from state law which requires that minors be duly represented by an impartial
party, especially when there existed a conflict of interest as defined by the Supreme
Court of Puerto Rico in Guerra v. Ortiz (1964). In retrospect, I recognize that the minors
were a nuisance for those who had waited more than twenty years to resolve a court
case which began long before my birth, in 1957. 1 was born in 1974. So, they resorted to
use deceptive legal measures to engage in transactions where the court would not have
approved of otherwise. I do not ratify that contract. I wish to annul it and ratify the

transactions that violated proper contractual consent.

27. When I realized that my mother had abused me because she had power over me,
because of the power of attorney that he obtained by force, I embarked a long and lonely
road to obtain documents that predated my research of the title agency because many,
many things were kept from me. I studied law and contracts. My parents emancipated
me and forced me to sign a power of attorney which gave them authority to represent
me in anything. When I revoked that power of attorney, all hell broke loose. My parents
used my share to pay lawyers to torture me. My father continued to represent me in a
manner that can be considered ultra vires. I contend that last twenty years or more, I
have not received any share of that inheritance. My mother whom I consider to be a
malignant narcissist vehemently disproves of me bringing up the past actions or paying
me back what she took from me, what is rightfully mine. (Emphasis supplied) My
research turned me into a legal forensic analyst, which is the reason why I have caught
on to all the manipulation of legal proceedings that the estate administrator is using in
this case, using his choice of law to his advantage and in betrayal of his duties towards

the estate, as a legal entity.

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28. My father, at time of death, was a majority owner (~55%) aliquot share of the lands that
were inherited. I have about a four percent aliquot share of those lands, not including
the share that I would acquire from my father. An aliquot share owner requires the
consent of all parties to transact on the property; I have numerous claims against my
father’s estate, most of which I reclaim the rights he took from me; Another part of my
claims involve a derivative claim while others are direct against the Estate
Administrator for violation contractual rights which voluntarily accepted at the
beginning of this case, and violation of his fiduciary duties; I have constitutional claims
against the Governor of Puerto Rico because of the choice of law that the estate
administrator used should be invalidated because it violates the Constitution and a due
process matter where the state’s procedural deficiency violates Public Law 600. This
deficiency of the law and the process involved is alleged to have enabled this coercive
action. I claim damages against my mother, who is now an heir and has always done
everything to steal my property to claim it as hers. I will demonstrate that true malice
is involved, as she even filed a state claim against me to evict me from a property where
I was a previous owner, all to deter me from further digging. My claims would reduce
her share of the distribution, which is the motive for the Plaintiff's choice of law and to
not want to use the Spanish Code (Cédigo de Enjuiciamiento Civil) to confuse the court

and prevent to have to comply with his fiduciary duties.

29. Since 2011, the estate administrator has been reluctant to share information and
purposely conceals property that should have belonged in my father’s estate. During
the status hearings he prevents the court to consider these issues by misleading the
court with ad hoc law, and very cunningly avoids having to present sworn testimony
to avoid being accused of perjury. Because the Civil Code would have been my choice
of law, a proper filing of a court case would have prevented this extensive delay (more
than a decade) because his choice of law was designed for conventional distribution

where the controversies are not against the estate or against the estate administrator

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himself. I have a claim here against both. Relevant law in PR clearly recognizes that
there are two ways to distribute an estate: the conventional way when there is a mutual
agreement on most issues and the judicial way where the estate administrator must file
a claim and present causes of action, and to prove to the court. I would have had no
objection if I would have been conferred the right to litigate the issues which the court

is supposed to resolve.

In another matter, it is asserted that this case is intimately related to another federal case
which is pending before the First Circuit Court of Appeals. Javier Mandry v. Victor
Fingerhut et. Al. Case number 16-cv-2229. This case was summarily dismissed by Judge
Garcia Gregory and was subjected to the automatic stay of PROMESA ACT since 2007.
The underlying subject matter case is a continuation of the allegations laid out in case
16-cv-2229 and evinces my prior allegations. However, the defendants of said case
appear to have contracted Mr. Manfredy to protect them to prevent discovery in this
case which would affect them in that case. Part of the defendants of case 16-cv-2229 are

included and affected by my reliefs because it would affect the assets of the estate.

In my research, I found a letter by Cesar Hernandez-Colon to Anita Cortes at the PR
Highway Authority [Appendix 2] where Mr. Colon is ordering that the agency would
distribute moneys that belonged to the estate of my father, estate that has not yet been
adjudicated. The letter was dated September 5, 2014. I am interested in finding out what
consequences this letter had. I already know that Mr. Manfredy withdrew more than
$200,000 from a forced condemnation claim, and that money is not reported anywhere

in his reports.

The Estate Administrator was involved in the formation of my father’s last will and
testament, document which conferred him the legal right to act as Estate Administrator.
His daughter and notary public notarized my father’s will, which my father signed in

the presence witnesses, as required by state law, allowing an indefinite term to pursue

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his many tricks thanks to his choice of law. If I do not voluntarily to accept their terms
which he has vehemently forced on me, he will continue financially churning the estate.
For every motion that they write, they bill the estate. It has become obvious how the
estate administrator flaunts new cars and lives a rich lifestyle, all thanks to the Mandry
account. They have no shame, but his recklessness must be recognized as a violation to

the legal entity.

THE FACTS OF STATE CLAIM (CASE JAC2018-0244) IN SUPPORT OF REMOVAL
JURISDICTION

33. The state claim was initiated on November 10, 2011, by means of an ex-parte petition,

case JJV2011-1103, where Conrado Manfredy moves the court to assign him as estate

administrator and pursue his role as such, pursuant to state law. [See appendix 3]

34. No other party was involved in this case, at time of filing. However, he later joined the

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heirs of the estate who subjected themselves voluntarily to the jurisdiction. Per my
recollection of the many volumes of court records, I was summoned without a claim.
Early on, the Plaintiff requested to consolidate the case with the widow’s usufructuary
case, case number JAL2011-0828. This, I allege was part of the formula used to prevent
contention, issue which I claim opens the door to constitutional inquiry of the law to do
what he did and how he did it. There have been so many documents regarding my
opposition to this case that it does not deserve me wasting my time with a case where
it was designed as a legal stunt from the beginning. In the meantime, the law offices of

Conrado Manfredy benefits from the filing of motions that opposed mine.

The final judgment was not included here, as the same court overturned it [Feb 2017]
after I filed an ethics complaint against the judge for approving an illegal contract where

Judge Rosaline Santana authorized the bailiff of the court to sign for anyone who

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opposed it. Inow contend that this was done to make me believe that the court ordered.
If I sign it, then it would have fallen into their trap.] Per Appendix 4, the Judge Santana

dismissed the case.

36. On June 14, 2018, the Court of Appeals overturned [Appendix 5] the lower court's
judgment, ordering that the case be converted to contentious. [the law does not provide
for automatic conversion is part of the defect of the law which the estate administrator,
a lawyer licensed to practice law by the state, used to further confusion which I claim

alludes to a due process violation arising from the law.

37. Eight months after the Court of Appeals judgment, on February 1, 2019, the Ponce court
decided to unconsolidated case JAL2011-0828 which was initially consolidated to case
JJ¥2011-1103 which became JAC2018-0844. [See Appendix 6]

38. Early during the proceedings, there is evidence on the record shows that the Plaintiff
wanted me to file the complaint because I was the one who moved the court to dismiss
the case. My opposition on record was that the Plaintiff has a ministerial duty to finish
his work. I claim that he attempted me to file the claim because then I would not be able
to reconvene. The court never resolved this issue. At all times, I have had to be defensive

and on the lookout for further judicial manipulation.

39. The Plaintiff filed a summary judgment‘ with his report on or around August 2020,
taking advantage a change of judge. Plaintiff later requested to include a matter
regarding the widow’s payments, which despite Appendix 6, supra, the court approved

an amendment which involved the moneys to be paid to the widow. [Appendix 7]

 

4 This resolution was not available at time of filing. It will be part of the evidence of this claim. However, it will evince
that it was resolved in the initial choice of law, not the PR Code as the Court of Appeals intended.

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40. I requested that the report be stricken from the record, which the court denied on second

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reconsideration, even though it was not sworn but presented and signed by his attorney
and son-in-law. At this time, I had not realized that the Estate Administrator had not
filed a complaint; When the court denied my reconsideration, I requested a new trial.
[Appendix 8] The court refuses to resolve my request for declaration of mistrial. More

than eight months have gone by.

On April 13 2021, the Plaintiff filed a motion requesting order and mandate [Appendix
9] to the Registrar, annexed with a draft order [Appendix 9A] and a mandate [Appendix

9B]. The court has not resolved this motion.

42. Included as part of the mandate, supra, item number ten’,” The estate administrator

endorses that to his best understanding and good faith, all assets were included and the
debts of the estate which belongs to Mr. Salvador Mandry Nones, as it appears in the
inventory of assets report, and the estate administrator declares that the liquidation and
adjudication includes all the assets, liabilities and credits of the estate, except the assets
included in an inverse condemnation claim, case JAC2008-0853, which is (currently) in

the appellate stage.”

43, Regarding the latter, I hereby contend that at no point in time has the court been

presented documents to decide whether any property exists, so it is alleged that this
legal maneuver is designed to circumvent for lack of judicial knowledge. If the parties
undersign a transfer document, they are being duped to confer their endorsement. This
would not be an issue if there is common consent (meeting of the minds) to engage in a
contract and if all parties do so voluntarily and without the use of tricks. Because I will
not sign, I will not allow for the court to represent me in a contract as the Plaintiff so

disgustingly intends.

 

3 “DECIMO” in Spanish

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44, Included under mandate, supra, item twelve‘ “That it would be decreed that all the parties

are to gather and within thirty days after judgment has been declared so that they can sign over
all transfer documents so that the real property would be transferred over to the heirs that are

being adjudicated.”

45. The Plaintiff has continued to file his quarterly reports involving his expenses. Here, he

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wants the court to approve his expenses which were not included in any cause of action.
I wish to contest any and all expenses, as I claim that the procedural history evinces that

he never intended to

FINAL REMARKS
Arguendo, If any of the heirs refuses to sign, then the bailiff will be authorized to
substitute the endorsement of that party”. Here, the Plaintiff using a mandate and in
third-voice representing the court, a court who has not had any way to certify that the
documents can allow for a determination of fact that the property was accounted for.
Here, the Plaintiff introduced “slipped” a summary judgment in the mandate draft;
Here, It is alleged that the Plaintiff is moving the court to arbitrarily use the bailiff to
sign on behalf of the parties to perform the transfer of property which the court never
had a chance to review. Additionally, the Plaintiff is using confusion to coerce the
parties into thinking that because the judgment was “final” that they had no choice but
to sign over the transfer voluntarily because otherwise the court will have the bailiff do
it for you. If the court would have jurisdiction, it would not need anyone to sign any
documents of transfer. This is coercion in the purest form. Plaintiff is a lawyer and CPA
who has one lawyer working for him. His blatant violation of court procedures makes

this case one where this court is requested to assert a Bivens claim against all parties

 

§ “DUODECIMO” in Spanish

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involved in this well-orchestrated recklessness. A class action claim is asserted, as it is

evident that what happened to me has been repeated many times.

Even though there is a partial judgment which is “final”, there is a pending request that
the court would annul the proceeding because all the partial judgements fail to comply
with due process of law. I request on removal that the Plaintiff be submitted to an audit
which I wish to guarantee with my share. They cannot be allowed to prevail because
he violated fundamental law and a direct order which required him to both file a new
claim with his causes of action and to file all matters related to the widow’s
compensation in a separate case number. All the lawyers of the case intentionally
misled the court by contending what they claimed was true, when it concealed the fact

that the court documents revealed a different story.

The Estate administrator, Conrado Manfredy, claims in his motions that I am to blame
for the delay because I have opposed his report. I claim here that I have a right to oppose
his report because he is forcing a unilateral agreement to be approved by the court. He
also has a fiduciary duty and contractual and extracontractual which he willfully
disregarded and sustains like a bulldozer over my rights to a fair trial. I assert that I
have had to exercise my Faretta right because I am aware that he interfered with my
previous lawyer. I am aware and assert the fact that his report was flawed and
fraudulently concealed and misrepresented the truth of which were the assets and their

valuations.

The estate administrator has confused the court, relying fully in his allegation that the
case is noncontentious. His choice of law, combined with my oppositions, moved the
court to err and later to reconsider or be overturned. I have no claim that the court has
intentionally concerted with the Plaintiff. The underlying issue reverts to his choice of
law which had never been submitted to a constitutional inquiry. This law is archaic and

must be revised or nullified because its vagueness produced a confusion which has

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forced the court to discriminate me, moved on lies that I cannot oppose the report. Part
of the issue involves the Conrado Manfredy has used his clout as an attorney of Ponce
to move the courts to approve a report which is fraudulent. The judgment was also not

final, as it does not confer the Estate Administrator the complete

This year, both the Plaintiff and his lawyer (together) filed a harassment claim
(Appendix 10) based on lies and on expressions that I included in motions. They wanted
the court to consider my claims of fraud and self-dealings included in this court case as
harassment. This was done to shut me up, violating my first amendment rights, causing
intentional emotional distress which caused me to feel as if I was better off dead than
continue with this constant attacks. The court disqualified his attorney from the
harassment claim because as the Plaintiff's attorney, he could not have a cause against
me. The Plaintiff was later not allowed to continue representing himself pro se. This

case will be included in the evidence of abuse of law against a class of litigant.

Everything in the case was constructed with hearsay evidence, since 2011, when the
parties were joined to his ex-parte case. Although I am not a lawyer, I am an avid
researcher with technical background who has had to learn about the philosophy of law
and logical fallacies. The wording of the will conferred an unlimited term, matter which
required that it be stricken in a declaratory judgment. I claim this violates substantive
due process and federal law. I also claim that this wording was placed in part by the
notary and accepted by the diseased, matter that should be considered self-serving to

the law firm.

My other siblings, not including Eduardo Mandry, were also subjected to this abuse of
my mother and father, but never to the degree which I have for deciding to never talk
to her again. Their stance complacent is to be discovered. I was hoping that

discontinuing my power of attorney were sufficient, but it did not stop there. Instead of

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representing me properly as a mandate, my mother and father used it to, at least in the
matter of the Ponce Shooting Club transaction, he attempted to use my power of
attorney ratify the transaction that must be declared null and void because a defect that

requires prior court authorization as a minor is considered annullable ab initio.

The four attorneys’ intervention caused the court to err because the state law cannot
abridge my right to reconvene. The PR Civil Code considers that a counterclaim
“mandatory” when filed by a defendant in response to a claim and is filed in a timely
manner, as opposed to “discretional” when it is not timely or occurs because of newly
found evidence. The plaintiff avoided altogether filing allegations and corresponding
reliefs; Doing so is what confers the court subject-matter jurisdiction in a contentious
case pursuant to the Rules of Procedure of Puerto Rico. The federal direct question arises
because: There cannot be a time-tolling of when I can reconvene in a case where the
conniving plaintiff intentionally failed to file the claim pursuant to requirements that
are like federal law. By failing to do so, CRS circumvented the rules of procedure which
granted me the right to know the allegations beforehand, answer the claim and
reconvene if I felt it was necessary, which I do. Even though there was talk on the record
asking the court to have me file first, I claimed that it was the Estate Administrator who
had a duty to do so. Had I filed the cause of action, 1 would have had a harder time to
reconvene since I would have become the plaintiff. So, took advantage of change of
judge to proceed pursuant to the initial choice of law to submit a summary judgment
because of a draft of the summary judgment resolution. The judgment clearly shows

that it was not resolved pursuant to the Civil Code.

Careful wording in the testament prevented any party from requesting a
disqualification of the executor to be time-tolled; This guaranteed that the notary’s
father to remain in executorship during an unlimited period, and play “follow the

carrot” with the pro se, as it would never allow the counterclaim. This alone should

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make him a state actor because state law does not recognize that unlimited anything is
unconstitutional, nor does the Governor, representing the Commonwealth of PR,
respect constitutional law and the Supremacy Clause. The legislature of PR does not
screen the laws for unconstitutionality. It also does not comply with the mandate of the
people of PR who elected that PR to become a state. This violates the precepts of Public
Law 447/600. I claim that a legal procedure or failure to ensure compliance to the United

States Constitution is what enabled Plaintiff to act in such a reckless manner.

Because I know how the cookie crumbles, I have a well-founded belief that the heirs
have offered CMS a monetary compensation to have him prevent me from reconvening.
One of the heirs, Eduardo Mandry, inherited a debt as per clear wording of the will.
CMS has prevented me from having the court interpret the will and testament that his
daughter intervened as its notary public. I urgently urge this court to assert jurisdiction
over this case and against all the wrongdoers, as it has become evident that the regional
court. They have used all tricks to prevent to comply with fiduciary duties of answering
for the acts during his lengthy administration. Those who applauded his actions should
be included in the Bivens claim because they knew they were exacerbating my service-
connected condition by inflicting more trauma than I could resist. For this, please make
them stop. I claim that the Plaintiff has acted in reckless disregard of my health and my
constitutional rights as litigant to a property claim. ] request that a jury to establish the

damages for this case.

Pursuant to 28 U.S.C. § 1446(d), THE UNDERSIGNED is serving written notice of the
removal of this case on plaintiff's counsel, and a copy will be promptly filed with the

Clerk of the Tribunal of First Instance in Ponce.

WHEREFORE, petitioner of removal and defendant to state claim, JAVIER MANDRY

MERCADO, prays that this action be removed to the United States District Court for the

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District of Puerto Rico and allow to amend the federal claim to clarify all pleadings,

simplify and include appropriate claims, as needed. ?

  

AVIER DRY MERCADO
Defendant state claim
Pro-Se

SERVICE; this case will be served simultaneously to the parties and the court.

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